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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


In re:

MICHAEL T. SHEPARDSON,                                        Case No.: 6:19-bk-04573-KSJ
                                                              Chapter 7
      Debtor.
________________________________/


                    MOTION FOR RELIEF FROM AUTOMATIC STAY

         (Real Property located at 1635 Elizabeth’s Walk, Winter Park, Florida 32789)

                             NOTICE OF OPPORTUNITY TO
                          OBJECT AND REQUEST FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider the relief requested in
           this paper without further notice or hearing unless a party in interest files a
           response within twenty-one (21) days from the date set forth on the attached
           proof of service, plus an additional three days for service if any party was
           served by U.S. Mail.

           If you object to the relief requested in this paper, you must file a response
           with the Clerk of the Court at 400 W. Washington Street, Suite 5100,
           Orlando, FL 32801, and serve a copy on the movant’s attorney, Casey Reeder
           Lennox, Lennox Law, P.A., 5100 W. Kennedy Blvd., Suite 120, Tampa, FL
           33609, and any other appropriate persons within the time allowed. If you file
           and serve a response within the time permitted, the Court will either schedule
           and notify you of a hearing or consider the response and grant or deny the
           relief requested without a hearing.

           If you do not file a response within the time permitted, the Court will
           consider that you do not oppose the relief requested in the paper, will proceed
           to consider the paper without further notice or hearing, and may grant the
           relief requested.

         VALLEY NATIONAL BANK, as successor by merger to USAMERIBANK (“Valley”

or “Movant”), by undersigned counsel, and pursuant to 11 U.S.C. § 362(d), and Fed.R.Bankr.P.

4001, hereby seeks the entry of an order granting relief from the automatic stay for the purpose
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of enforcing its in rem rights with respect to the real property owned by Debtor, Michael T.

Shepardson (the “Debtor”), and located at 1635 Elizabeth’s Walk, Winter Park, Florida 32789

(the “Real Property”). In support, Valley states as follows:

                                          Background

         1.     This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334.

This matter is a “core” proceeding within the meaning of 28 U.S.C. § 157.

         2.     On July 15, 2019, the Debtor filed a voluntary petition under Chapter 7 of the

United States Bankruptcy Code (the “Petition Date”).

         3.     Arvind Mahendru is the duly appointed chapter 7 Trustee (the “Trustee”).

         4.     On February 17, 2015, PACA Foods, LLC (“PACA”)1, as borrower, executed and

delivered to Valley’s predecessor in interest, USAmeriBank (“USAB”), a U.S. Small Business

Administration Note in the original principal amount of $2,610,000.00 (the “Note”). A copy of

the Note is attached hereto as Exhibit “A”.

         5.     On February 17, 2015, the Debtor executed and delivered to USAB a U.S. Small

Business Administration Unconditional Guarantee of the Note (the “Guarantee”). A copy of the

Guarantee is attached hereto as Exhibit “B”.

         6.     On February 17, 2015, the Debtor executed and delivered to USAB a Third Real

Estate Mortgage (the “Mortgage” and together with the Note and Guarantee, the “Loan

Documents”), to secure his obligations under the Guarantee. The Mortgage was recorded on

February 23, 2015, in Official Records Book 10878, Page 8043, in the amount of $2,610,000.00,

in the Public Records of Orange County, Florida. A copy of the Mortgage is attached hereto as

Exhibit “C”.



1
    The Debtor is a managing member of PACA.
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       7.       The Mortgage created a lien on the Real Property, which is more particularly

described as:

       Lot 45, WINDSONG – ELIZABETH’S WALK, according to the map or plat thereof as
       recorded in Plat Book 43, Page 81, Public Records of Orange County, Florida.

       8.       PACA is in default of the Note and the Debtor is in default of the Guarantee.

       9.       There have been no payments made to Valley under the Note since January, 2018.

       10.      Valley is the owner and holder of the Loan Documents and maintains a perfected

mortgage lien on the Real Property.

       11.      Pre-petition, Valley duly issued notice of default and notice of acceleration of all

amounts due under the Note.

       12.      Pre-petition, Valley instituted state court litigation to, inter alia, collect the

amounts due under the Note and foreclose its mortgage lien on the Real Property. See Valley

National Bank v. PACA Foods, LLC, et al., Case No.: 2018-CA-008717-O (9th Judicial Circuit;

Orange County, Florida) (the “State Court Litigation”).

       13.      As of July 24, 2019, the principal amount due under the Note was $1,899,851.10,

plus accrued pre-judgment interest of $224,854.52, for a total of $2,124,705.62 (exclusive of pre-

petition recoverable expenses incurred by Valley and pre-petition attorneys’ fees and costs

incurred by Valley), which amount has been reduced to judgment in favor of Valley and against

PACA and Micacol Holdings, LLC (another guarantor of the amounts due to Valley under the

Note). A copy of the Order Granting in Part Plaintiff’s Motion for Summary Final Judgment as

to Counts I-V and VIII-XI of the Complaint and Summary Final Judgment Against Defendant,

PACA Foods, LLC (as to Counts I and VIII) and against Defendant, Micacol Holdings, LLC (as

to Counts IV and XI), entered in the State Court Litigation on August 1, 2019 (the “Partial

Judgment”), is attached hereto as Exhibit “D”.

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       14.     Valley estimates the value of the Real Property to be approximately $750,000.00,

pursuant to the Debtor’s Schedule A.

       15.     The Real Property has not been claimed as exempt, pursuant to the Debtor’s

Schedule C.

       16.     As of the date of this Motion, the Trustee has not abandoned the Real Property.

       17.     In his Statement of Intention for Individuals Filing Under Chapter 7, the Debtor

has indicated his intent to surrender the Real Property. See, Affidavit as to Surrendered Property

attached hereto as Exhibit “E”.

                                        Relief Requested

       18.     Through this Motion, Valley seeks relief from the automatic stay pursuant to 11

U.S.C. § 362(d) in order to enforce its in rem rights with respect to the Real Property.

       19.     The Debtor is the record title holder of the Real Property.

       20.     The Debtor and the estate lack equity in the Real Property.

       21.     The Debtor is in default under the terms of the Guarantee and the Mortgage for

failure to make the payment due under the Note in February, 2018, and all payments due

thereafter (including upon acceleration). As such, Valley lacks adequate protection of its interest

in the Real Property.

       22.     As the Debtor has indicated his intent to surrender the Real Property, Valley

submits that cause exists under 11 U.S.C. § 362(d)(1) for the entry of an order lifting the

automatic stay to permit Valley to proceed to enforce its in rem rights with respect to the Real

Property.




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       23.       Valley has incurred costs and attorneys’ fees in connection with this case and will

incur additional fees, costs and expenses in foreclosing the Mortgage, all of which additional

sums are secured by the lien of the Mortgage.

       24.       Finally, Valley requests that the Court waive the 14-day stay period imposed by

Fed.R.Bankr.P. 4001(a)(3), so that it may proceed to enforce its rights in the Real Property

without delay.

       WHEREFORE,           VALLEY      NATIONAL        BANK      as   successor   by   merger    to

USAMERIBANK, respectfully requests the entry of an order (i) granting this Motion, (ii) lifting

the automatic stay for the reasons stated above, and (iii) granting such other and further relief as

the Court deems just and appropriate.

       Dated this 12th day of September, 2019.


                                                  /s/ Casey Reeder Lennox
                                                  Andrew W. Lennox          (FBN: 937681)
                                                  alennox@lennoxlaw.com
                                                  Casey Reeder Lennox       (FBN: 041986)
                                                  clennox@lennoxlaw.com
                                                  LENNOX LAW, P.A.
                                                  5100 W. Kennedy Blvd., Suite 120
                                                  Tampa, Florida 33609
                                                  Tel: 813-831-3800
                                                  Fax: 813-749-9456
                                                  Attorneys for Valley National Bank




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Relief

from Automatic Stay has been furnished via CM/ECF electronic service to Amy Denton Harris,

Stichter Riedel Blain & Postler, P.A., 110 E. Madison Street, Suite 200, Tampa, FL 33602;

Arvind Mahendru, Trustee, 5703 Red Bug Lake Road, Suite 284, Winter Springs, FL 32708; and

to those other parties receiving electronic notices via CM/ECF in this case; and via U.S. Mail to

the Debtor, Michael T. Shepardson, 2837 Lake Baldwin Lane, B302, Orlando, FL 32814 on this

12th day of September, 2019.



                                                /s/ Casey Reeder Lennox
                                                Attorney




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          Exhibit “A”
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           Exhibit “B”
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           Exhibit “C”
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Preparedby and after
                   recording
Returnto:

Adam S.Woodruff,Esquire
Shutts& Bowen LLP
4301 W. Boy ScoutBoulevard
Suite300
Tarnpa,Florida33607


                                                                                       DataAbove
                                                                                Recording

                                                                          Loan No.:        4100


                             THIRD   REAL   ESTATE     MORTGAGE

EFFECTIVE       DATE:                February 17, 2015

MORTGAGOR:                           Michael T. Shepardson, a singleman
ADDRESS:                             1635 ElizabethsWalk
                                     Winter Park, Florida32789


MORTGAGEE:                           USAmeriBank, a Floridabanking corporation
ADDRESS:                             Post Office Box 172927
                                     Tampa, Florida33672

AMOUNT         OF
INITIAL    INDEBTEDNESS:             $2,610,000

         1.  Background. Mortgagee (as defined below) made a $2,610,000 loan ("Loan") to
PACA   Foods LLC, a Florida limited liability
                                            company ("PACA  Foods") as evidenced by that
certainU.S. Small Business Administration Note of even date herewith, executed by PACA
Foods in favor of Mortgagee, in the originalprincipalamount of $2,610,000.00 (includingall
renewals, extensions,replacements or modificationsthereof,the "Note"). Mortgagor (as defined
below) has an equity interestin PACA    Foods and will benefit from the Loan being made by
Mortgagee to PACA    Foods. As a conditionto Mortgagee's extension of the Loan, Mortgagee is
requiringMortgagor guarantee the payment and performance obligationsof PACA      Foods under
the Note and allother documents relatedto the Loan pursuant to thatcertainU.S. Small Business
Administration Unconditional Guarantee of even date herewith (as may be amended,
"Guaranty"), executed by Mortgagor in favor of Mortgagee. Mortgagor's obligationsunder the
Guaranty are secured by thisMortgage.

       2.    Mortgage. In consideration of ten dollars ($10.00) and other valuable
considerations received by MICHAEL      T. SHEPARDSON,       a single man ("Mortgagor"),
Mortgagor effectiveas of the EffectiveDate mortgages, hypothecates,pledges and assigns to
USAMERIBANK,       a Florida banking corporation ("Mortgagee"), the real property located in
Orange County, Florida legallydescribed on the attachedExhibit "A" ("Mortgaged        Property")
forthe purposes identifiedherein.
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       3.     Secured Indebtedness. This Third Real Estate Mortgage         (this "Mortgage")
secures Mortgagor's obligationsto Mortgagee under the Guaranty.

       4.     Payment of Secured Indebtedness. Mortgagor shall comply with allterms and
conditions of this Mortgage, the Guaranty or any other documents delivered by Mortgagor in
connection with the Loan. Mortgagor shall pay promptly when due all amounts owed by
Mortgagor under the Guaranty and perform all other obligations of Mortgagor under the
Guaranty or any otherdocuments relatedto the Loan.

       5.      Escrow for Taxes and Insurance.At any time that Mortgagee may so require,
Mortgagor   shallpay to Mortgagee on the day monthly installmentsof principalor interestare
payable under the Note, untilthe Note is paid in full,a sum ("Funds") equal to one-twelfthof:
(a) the current yearly taxes and assessments which may be levied on the Mortgaged Property,
and (b) the yearly premium installmentsfor fireand other hazard insurance,rent loss insurance
and such other insurance covering the Mortgaged Property as Mortgagee may require,allas
reasonably estimated initiallyand from time to time by Mortgagee on the basis of assessments
and billsand reasonable estimatesthereof. Ifthe Funds held by Mortgagee exceed the amounts
permitted to be held by applicable law, Mortgagee shallaccount to Mortgagor for the excess
Funds in accordance with the requirements of applicablelaw. IfFunds held by Mortgagee at any
time are insufficientto pay when due the yearly taxes and assessments and/or the yearly
insurance premiums covering the Mortgaged Property, Mortgagee shall notify Mortgagor in
writing,and Mortgagor shallpay to Mortgagee any Funds necessary to make up the deficiency.
Mortgagor shallmake up such deficiency in no more than twelve (12) monthly payments, at
Mortgagee's sole discretion.

       6.     TitleCovenants. Mortgagor covenants that (i)Mortgagor is lawfully seized of
the Mortgaged Property and has the rightto mortgage, grant,convey and assign the Mortgaged
Property to Mortgagee, and (ii)Mortgagor will warrant and defend same against all lawful
claims and demands of allpersons whomsoever. Mortgagor covenants thatMortgagor shallnot
furtherencumber any interestin any portion of Mortgaged Property without the writtenconsent
of Mortgagee, which consent may be granted or denied in Mortgagee's solediscretion.

       7.     Charges and Liens. Mortgagor shall pay, when due, the claims of all persons
supplying labor or materialsto or in connection with the Mortgaged Property. Mortgagor shall
not permit any lien inferiorto the Mortgage to be perfected against the Mortgaged Property,
without Mortgagee's prior written consent, which consent may be granted or denied in
Mortgagee's sole discretion.

       8.      Improvements and Fixtures. Mortgagor hereby grants Mortgagee a security
interestin all buildings,improvements, fixturesor appurtenances now or hereaftererected or
existingupon the Mortgaged Property,including,but, not limited to, allelevatorsand all gas,
                                             lighting,plumbing, heating, air conditioning,
steam, electric,water, cooking, refrigerating,
           and power systems, machines, appliances,fixtures,
ventilation,                                               and appurtenances,even though
they may    be detached or detachable, all of which   shall be deemed   part of the Mortgaged
Property.


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         9.    Maintenance and Repair.    Mortgagor shall not commit waste or permit any
impairment   or deteriorationof the  Mortgaged Property. Mortgagor shall not permit the
demolition, destructionor removal of any portion of the Mortgaged Property without the prior
written consent of Mortgagee.    Mortgagor shall maintain the Mortgaged Property in good
condition and repair,and Mortgagor shall comply with all laws, ordinances,regulationsand
requirements of any governmental body applicable to the Mortgaged Property. If Mortgagor
failsto do so, then Mortgagee, without waiving the option to foreclose,may take some or all
measures Mortgagee reasonably deems necessary or desirable for the maintenance, repair,
preservation,or protectionof the Mortgaged Property,and any expenses reasonably incurredby
Mortgagee in so doing shallbecome part of the indebtedness secured by this Mortgage, shall
become  immediately due and payable, and shallbear interestat the highest lawful rate specified
in any note evidencing any indebtedness secured by this Mortgage. Mortgagee shallhave no
obligationto care for and maintain the Mortgaged Property, or, having taken some measures
therefor,to continue the same or take othermeasures.

         10.   Hazard Insurance. If any buildings or other improvements now or hereafter
constitutepart of the Mortgaged Property,Mortgagor shallkeep the same insured againstlossor
damage by fire,lightning,flood, windstorm and other perilscustomarily insured against,or as
may be reasonably required from time to time by written directionof Mortgagee, in the full
insurablevalue thereof (or such lesseramount as the Mortgagee may authorize from time to
time),with a responsibleinsurance company or companies licensedto do business in the Stateof
Floridaand to which Mortgagee has no reasonable objection.The policy or policiesof insurance
shallcontain a standard mortgagee clause in favor of Mortgagee and such policy or policies,or
other satisfactoryevidence of such insurance, shall be delivered to Mortgagee prior to or
concurrentlywith Mortgagor's execution and deliveryof thisMortgage. Mortgagor shallpay all
premiums and charges for the maintenance and renewal of the insurance, and shall furnish
Mortgagee with receiptsand proof of payment thereof not less than ten (10) days before the
expirationof the applicablepolicy. IfMortgagor failsto do so, then Mortgagee, without waiving
the option to foreclose,may obtain such insurance for the protection of Mortgagee, and any
expenses reasonably incurred by Mortgagee in so doing shallbecome part of the indebtedness
secured by thisMortgage, shallbecome immediately due and payable, and shallbear interestat
the highest lawful ratespecifiedin the Note. In the event of loss,the insuranceproceeds shallbe
applied by Mortgagee to the reduction of the indebtedness secured hereby, or to the restoration
and repair of the Mortgaged Property, at the sole option of Mortgagee. In the event of fore-
                                                                                        of the
closureof thisMortgage or transferof the Mortgaged Property in fullor partialsatisfaction
indebtedness secured hereby, all interestof Mortgagor in the policy or policiesof insurance
(includingany claim to proceeds attributable to lossestheretoforeoccurring but not yet paid to
Mortgagor) shallpass to the purchaser,grantee,or transferee.

         11.  Rents and Profits.This Mortgage shallextend to and encumber allrents,issues,
profits,proceeds, and revenues derived from the Mortgaged Property, but Mortgagor may
receivethe same while thisMortgage isnot in default.

         12.  Receiver. Ifan event of defaultshallhave occurred under thisMortgage, the Note
or any other documents relatingto the loan evidenced by the Note, Mortgagee, to the extent
permitted by law and without regard to the value, adequacy or occupancy of the securityfor the
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indebtedness and other sums secured hereby, shallbe entitledas a matter of right,ifitso elects,
to the appointment of a receiverto enterupon and take possession of the Mortgaged Property and
to collectallrentsthereofand apply the same as the court may directand any such receivershall
be entitledto hold, store,use, operate,manage and controlthe Mortgaged Property and conduct
business therefrom. The expenses, including receiver'sfees,attorneys'fees,costs and agent's
compensation, incurred pursuant to the powers herein contained shall be secured by this
Mortgage. The rightto enterand take possession of,to collectallrent,income and otherbenefits
from, and to manage and operate the Mortgaged Property by a receivershallbe cumulative to
any other right or remedy hereunder or afforded by law and may be exercised concurrently
therewith or independently thereof. Mortgagee shallbe liableto account only for such rents,
income and other benefitsactuallyreceived by Mortgagee. Notwithstanding the appointment of
any receiver or other custodian,Mortgagee shallbe entitledas ledge to the possession and
control of any cash, deposits or instruments at the time held by, or payable or deliverable
pursuant to the terms of thisMortgage to,Mortgagee.

       The assignment of rents contained in this Mortgage is intended to and constitutesan
assignment of rentsas contemplated in FloridaStatutesSection 697.07. Upon the occurrence of
an event of defaultunder this Mortgage, the Note or any other documents relatingto the loan
evidenced by the Note, Mortgagee shallbe entitledto the remedies provided in said Section
697.07. In additionto the rightswhich Mortgagee may have herein,in the event of any default
under thisMortgage, the Note or any otherdocuments relatingto the loan evidenced by the Note,
Mortgagee, at itsoption,may requireMortgagor to pay monthly in advance to Mortgagee, or any
receiver appointed to collectthe rents,the fairand reasonable rentalvalue for the use and
occupation of such part of the Mortgaged Property as may be in the possession of Mortgagor.
Upon default in any such payment, Mortgagor shallvacate and surrender possession of the
Mortgaged Property to Mortgagee, or to such receiverand, in defaultthereof,Mortgagor may be
evictedby summary proceedings or otherwise.

       13.    Taxes, Assessments, and Liens. Mortgagor shallpay alltaxes,assessments,liens,
and other charges upon or with respect to the Mortgaged Property before the same become
delinquent,and shallfurnishMortgagee with receiptsand proof of payments thereofat leastten
(10) days before the lastday allowed for payment freefrom penalty,without notice or demands
from Mortgagee. If Mortgagor failsto do so, then Mortgagee, without waiving the option to
foreclose,may pay the same, and the amount so paid shallbecome part of the indebtedness
secured by thisMortgage, shallbecome immediately due and payable, and shallbear interestat
the highest lawful ratespecifiedin the Note.

       14.      Inspection. Mortgagee and Mortgagee's representativesmay enter upon the
Mortgaged    Property for inspection at allreasonable times and in a reasonable manner, both
before and afterdefault.

       15.    Eminent Domain. This Mortgage extends to and shallencumber any judgments,
awards, damages, and settlementshereafterrendered or paid and resultingfrom condemnation
proceedings with respect to the Mortgaged Property or the taking of the Mortgaged Property or
any part thereof under the power of eminent domain, and Mortgagee may require, in
Mortgagee's sole discretion,thatany sums payable to Mortgagor and arisingout of the power of

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eminent domain with respect to the Mortgaged      Property shallbe applied to the indebtedness
secured hereby.

       16.    Enforcement    and Collection Expenses.      Mortgagor shall pay all expenses,
including attorneys'fees and  costs,reasonably incurred by Mortgagee with respectto collection
of the indebtedness secured hereby or enforcement of Mortgagee's rightshereunder (including
foreclosureor other litigation expenses and any post-judgment collectionproceedings) arising
out of any defaultby Mortgagor, and the amount thereofshallbecome part of the indebtedness
                                                                              at the highest
secured hereby, shallbecome immediately due and payable, and shallbear interest
lawful rateallowed under applicablelaw.

       17.    Acceleration Upon Default. If Mortgagor failsto pay any indebtedness secured
hereby promptly when due (or within such grace period as may be provided in the Note), or if
Mortgagor defaultshereunder, then Mortgagee may declare allindebtedness secured hereby to
be acceleratedand immediately due and payable. Mortgagee's failureto declarean acceleration
shallnot impair the rightto do so in the event of a continuing or subsequent breach or default.

       18.    No Waiver.    No  delay by Mortgagee in exercisingany option,right,or remedy
hereunder or otherwise afforded by law, shallwaive or preclude the exercisethereof during the
continuance of any breach or defaulthereunder. No waiver by Mortgagee of any provision,
breach, or defaultshallbe a waiver of any other provision or a consent to any subsequent breach
or default.

       19.    Default under Other Mortgages. If the Mortgaged Property or any part thereofis
now or hereafterencumbered by one or more other mortgages thatare superiorto thisMortgage,
then any defaultthereunder shall be a defaultunder this Mortgage, and Mortgagee, without
waiving the option to foreclose,may take such measures that Mortgagee reasonably deems
necessary to remedy such default,and allfunds advanced for such purpose shallbecome part of
the indebtedness secured hereby, shallbecome immediately due and payable, and shallbear
interestat the highest lawful rate specifiedin any note evidencing any indebtedness secured
hereby. Mortgagee shallhave no obligationto take any measures to remedy any such default,or,
having taken some measures therefor,to continue the same or take othermeasures.

       20.     Extensions, Leniencies, and Releases. Mortgagee may grant extensions of time
for payment and other leniencieswith respect to any indebtedness secured hereby, and may
waive or failto enforce any of Mortgagee's rightshereunder, and may release a portion or
portions of the Mortgaged Property from the lien hereof, without releasingor diminishing the
obligationor liability
                     of any person constitutingMortgagor, or any guarantor or endorser.

       21.     Satisfaction.Whenever there is no outstanding indebtedness or other obligation
secured hereby, Mortgagee    shall deliver a satisfactionof this Mortgage to Mortgagor, in
recordableform.

       22.   Hazardous Substances. Mortgagor shallnot cause or permit the presence, use,
disposal,storage or release of any hazardous substances on or in the Mortgaged Property.
Mortgagor shallnot do, or allow anyone elseto do, anything affectingthe Mortgaged Property
thatisin violationof any environmental law.
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       23.    General Provisions. The singularshallinclude the pluraland any gender shallbe
applicable to all genders when the context permits or implies. If more than one person
constitutesMortgagor, theircovenants and obligationshereunder shallbe joint and several. If
Mortgagor sellsor transfersthe Mortgaged Property,Mortgagee may deal with the successoror
successors in interestwithout in any way discharging or reducing Mortgagor's liability  for
Mortgagor's obligationssecured hereby. Mortgagee's rightsexpressed herein are in additionto
and cumulative of any other rightsand remedies provided by law. The terms "Mortgagor" and
"Mortgagee" shallextend to and include theirrespectiveheirs,legalrepresentatives, successors
and assigns. Any agreement hereaftermade by Mortgagor and Mortgagee pursuant to this
Mortgage shallbe superior to the rightsof the holder of any interveninglienor encumbrance.
Time is of the essence. This Mortgage shallbe governed by the laws of the Stateand Florida.
THE   PARTIES   IRREVOCABLY       WAIVE     ANY       RIGHT   TO   HAVE    A JURY   PARTICIPATE
IN RESOLVING      ANY   DISPUTE   BETWEEN      THEM   ARISING   OUT OF OR IN ANY       WAY
RELATED      TO THIS MORTGAGE.      All noticesto be deliveredunder thisMortgage shallbe in
writing and shall be deemed to have been given (i) when delivered by hand, (ii)the day
following the day on which the notice has been deliveredprepaid to a reputableexpress mail or
                       the thirdbusiness day following the day on which the notice is sent by
courier service,or (iii)
                     mail, postage prepaid.All noticesshallbe deliveredto the addressesof the
registeredor certified
partiessetforthon the firstpage of thisMortgage or to such other address as the party shallhave
lastdesignated by writtennotice to the other party. If any portion of thisMortgage is declared
void by any court as illegalor againstpublic policy the remainder of the instrument in question
shallcontinue in fulleffect.

       24.    Nontransferability.In the event of the sale,conveyance, assignment or transferof
the Mortgaged Property in any manner without the prior writtenconsent of the Mortgagee, then
Mortgagee shallhave the absoluterightto declarea defaultunder the Guaranty and Note and the
entireremaining principalbalance under the Note to be immediately due and payable without
notice;and as a condition to granting of the Mortgagee's consent, the Mortgagee may require
any one or more of the following: an increase in the interestrate,a transferfee, a partial
prepayment of the indebtedness, or such other terms, conditions and provisions,including a
modification of thisMortgage and Note, as Mortgagee shalldeem advisablein the Mortgagee's
soleand exclusivejudgment.

       25.     Third Mortgage. The lienof thisMortgage isjunior,inferiorand subordinateto
the lien of that certain(i)Mortgage to Wells Fargo Bank, N.A. recorded in OfficialRecords
Book 9367, Page 2559 of the Public Records of Orange County, Florida,and (ii)Mortgage to
Wells Fargo Bank, N.A. recorded in OfficialRecords Book 10182, Page 7279 of the Public
Records of Orange County, Florida (each a "Prior Mortgage"). In the event the Mortgagor
shall accept from the holder of eitherPrior Mortgage a future advance, such acceptance shall
constitutea defaultunder this Mortgage, and Mortgagee shallhave allthe rightsand remedies
granted to the Mortgagee hereunder, the Note, Guaranty and allother documents relatedto the
Loan. In additionto and not in lieuof the rightsand remedies conferred upon the Mortgagee in
the preceding sentence,any future advance which may be made under any Prior Mortgage is
hereby assigned to the Mortgagee, and any such future advance shallbe paid directlyto the
Mortgagee and applied by the Mortgagee upon the unpaid principalbalance of the indebtedness
due under the Note.
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         26.        Small Business Administration.

THE     LOAN         SECURED           BY    THIS      LIEN        WAS      MADE      UNDER       A     UNITED        STATES
SMALL         BUSINESS           ADMINISTRATION     (SBA)                    NATIONWIDE WHICH     PROGRAM
USES     TAX     DOLLARS           TO ASSIST  SMALL    BUSINESS   OWNERS.      IF THE   UNITED
STATES         IS    SEEKING         TO ENFORCE     THIS   DOCUMENT,      THEN    UNDER     SBA
REGULATIONS:

(A) WHEN            SBA    IS THE        HOLDER           OF       THE     NOTE, THIS DOCUMENT      AND                     ALL
DOCUMENTS             EVIDENCING               OR    SECURING             THE LOAN   WILL BE CONSTRUED                         IN
ACCORDANCE                WITH     FEDERAL            LAW.

(B) LENDER           OR    SBA    MAY       USE      LOCAL         OR     STATE    PROCEDURES            FOR     PURPOSES
SUCH     AS         FILING      PAPERS,              RECORDING               DOCUMENTS,               GIVING          NOTICE,
FORECLOSING                 LIENS,    AND              OTHER              PURPOSES.              BY      USING          THESE
PROCEDURES,               SBA    DOES       NOT      WAIVE         ANY FEDERAL     IMMUNITY                   FROM     LOCAL
OR   STATE          CONTROL,             PENALTY             TAX      OR LIABILITY.     NO              BORROWER             OR
GUARANTOR             MAY    CLAIM              OR    ASSERT            AGAINST      SBA   ANY        LOCAL      OR       STATE
LAW      TO    DENY       ANY     OBLIGATION              OF       BORROWER,         OR    DEFEAT        ANY     CLAIM        OF
SBA    WITH     RESPECT           TO     THIS     LOAN.

ANY      CLAUSE            IN     THIS       DOCUMENT                    REQUIRING         ARBITRATION                IS    NOT
ENFORCEABLE                WHEN          SBA        IS HOLDER              OF THE      NOTE      SECURED             BY    THIS
INSTRUMENT.




                                                [Signature on the Following Page]




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         IN WITNESS       WHEREOF,      Mortgagor has executed thisMortgage as of the Effective
Date.


Signed in the presence of the
fo a ing two witnesses:



PrintName:           o Mr\t 6     Go   a 1 EL            MI   HAEL   T. SHE     RD SON



PrintNan e:           0   ( 10    0 00 1



STATE    OF FLORIDA
COUNTY       OF    4// s boreask

       The foregoing instrument was acknowledged before me this / 7 day of February, 2015,
by Michael T. Shepardson, a singleman, who is O personallyknown to me or who lil*faroduced
 //pe; A. 13, NeA    Meems,       as identification.


(AFFIX    NOTARY       SEAL)
                                                         NOTARY      PUBLIC,   Stateat Large

                                                                  nameofNotary)
                                                             orprint
                                                         (Type
                                                         My  Commission   expires: YYk<ek      9   Zo it
                      CHYRLA.LEHMANN
                            -State
                       Public
                  Notary          ofFlorida
                  My Comm.      Mar4,2018
                          Expires
                             # FF094600
                    Commission




                                                     8
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                                            Exhibit "A"

                         - ELIZABETH'S
    Lot 45, WINDSONG                       WALK,   according to the map or platthereofas recorded
    in PlatBook 43, Page 81, Public Records of Orange County, Florida.




I




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          Exhibit “D”
Filing # 93559886 Case 6:19-bk-04573-KSJ
                  E-Filed                  DocAM
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         IN THE CIRCUIT COURT
         OF THE NINTH JUDICIAL CIRCUIT
         IN AND FORORANGE COUNTY, FLORIDA
         CIVIL DIVISION

         Case   No: 2018-CA-008717-O

         VALLEY NATIONAL BANK,         as
         successor by merger to USAmeriBank,

                 Plaintiff,



         PACA FOODS, LLC, a Florida limired liability
         company, MICHAEL T. SHEPARDSON,
         individually and as Trustee of the MICHAEL
         T. SHEPARDSON AMENDED AND
         RESTATED TRUST, DATED AUGUST 29,
         2OIO, AS AMENDED, MICACOL
         HOLDINGS, LLC, a Florida limited liability
         company, AMERICAN                  EXPRESS
         CENTURION BANK CORPORATION, A
         Utah state chartered bank, WINDSONG
         COMMUNITY ASSOCIATION, INC., A
         Florida not for profit corporation, GJC
         INTERESTS OF FLORIDA LIMITED
         PARTNERSHIP, a Nevada limited partnership,
         UNKNOWN SPOUSE OF MICHAEL T.
         SHEPARDSON,           and    I-TNKNOWN
         TENANT(S) IN POSSESSION,

                 Dcfendants.


           ORDER GRANTING IN PART PLAINTIFF'S MOTION FOR SUMMARY FINAL
               JUDGMENT AS TO COUNTS I-V AND VIII-XI OF THE COMPLAINT
                                        AND
                         SUMMARY FINAL JUDGMENT AGAINST
           DEFENDANT, PACA FOODS, LLC (AS TO COUNTS I AND VIID AND AGAINST
             DEFENDANT. MICACOL HOL DINGS. LLC (AS TO COUNTS IV AND X I)
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       This cause came before the Court on July 16, 2019 for hearing on Plaintiffs Motion for

Summary Judgment as to Counts            I-V and VIII-XI of the Complaint ("Motion"). The Court

having reviewed the court file, the Motion and affidavits, heard argument from counsel, and

otherwise being fully advised      in the premises, is it hereby ORDERED and ADJUDGED as

follows:

           l.      The Motion is GRANTED IN PART.T

       2.          As to Counts I and   VIII of the Complaint, the Motion is GRANTED,                and on these

counts, this Court enters final judgment in favor of Plaintiff, VALLEY NATIONAL BANK, as

successor by merger to USAmeriBank, and against Defendant,                     PACA FOODS, LLC.

          3.        Plaintifi VALLEY NATIONAL BANK, as                             successor    by    merger to

USAmeribank (whose address is 1700 Palm Beach Lakes Blvd., Suite 1000, West Palm Beach,

FL 33401), shall recover from Defendant, PACA FOODS, LLC (FEIN:                                     4780; whose

address    is: 5212 Cone Road, Tampa,      FL   33610), the total judgment amount of $2,766,935.70,

which is calculated as follows:

                Term Note
                      Principal                                                    $1,899,8s 1.10
                      Accrued Pre-Judgment lnterest   1zt t t   n-l tztt tsy       9224,8s4.s2
                                                                      TOTAL:       $2,124,705.62
                Amended CAPLine Note
                      Principal                                                    s572,044.61
                     Accrued Pre-Judgment Interest    (2/   l nl-z t24ns)          $66,87s.47
                                                                      TOTAL:       $638,920.08
                Recoverable Expenses                                               $3,3 10.00
                                   TOTAL JUDGMENT AMOUNT:                          $2,766,935.70

I No findings or adjudication has been made conceming Defendants, MICHAEL T. SHEPARDSON,
individually or as Trustee of the MICHAEL T. SHEPARDSON AMENDED AND RESTATED TRUST,
DATED AUGUST 29,2010, AS AMENDED, or as to Counts II, III, V, IX or X of the Complainr in lighr
of that Chapter 7 bankruptcy case styled, In re Michael T. Shepardson, Case No. 6:19-bk-04573-KSJ,
filed July 15, 2019 in the United States Bankruptcy Court, Middle District of Florida, Orlando Division.

                                                    2
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The foregoing total judgment amount shall bear interest at the rate of 6.77%o per year initially and

thereafter as provided for by $ 55.03, Florida Statutes, for all of which let execution issue.

        4.      As to Counts IV and XI of the Complaint, the Motion is GRANTED, and on these

counts, this Court enters final judgment in favor of   Plaintifl VALLEY NATIONAL BANK,              as


successor by merger to USAmeriBank, and against Defendant,             MICACOL HOLDINGS, LLC.

        5.      Plaintiff, VALLEY NATIONAL BANK, as successor by merger to
USAmeriBank (whose address is 1700 Palm Beach Lakes Blvd., Suite 1000, West Palm Beach,

FL 33401), shall recover from Defendant, MICACOL HOLDINGS, LLC (FEIN:                            6544;

whose address is 1635 Elizabeth's Walk, Winter Park, FL 32789), the total judgment amount           of

$2,766,935.70, which is calculated as follows:

                Term Note
                      Principal                                                $1,899,851.10
                      Accrued Pre-Judgment Interest    (2/ t n8-7   t24ng\     $224,854.52
                                                                     TOTAL = $2,124,705.62
                Amended CAPLine Note
                      Principal                                                $572,044.6t
                      Accrued Pre-Judgment Interest (2/tn8-7 t24^s\            $66,875.47
                                                               TOTAL =         $638,920.08
                Recoverable Expenses                                           $3,310.00
                                  TOTAL JUDGMENT AMOTJNT =                     $2,766,935.70

The foregoing total judgment amount shall bear interest at the rate of 6.77o/o per year initially and

thereafter as provided for by $ 55.03, Florida Statutes, for all of which let execution issue.

        6.      Plaintiff is also entitled to recover its reasonable attomeys' fees and costs from

Defendants, PACA FOODS,         LLC and MICACOL HOLDINGS, LLC. The Court                       retains

jurisdiction to determine the amount of reasonable attomeys' fees and costs recoverable by

Plaintiff.

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        7.        \t is further   ordered and adjudged that Defendants, PACA FOODS, LLC and

MICACOL HOLDINGS, LLC, shall complete Florida Rule of Civil Procedure Form 1.977(b)                    -
Fact Information Sheet for Corporations, and that the Defendants shall retum the completed

forms to Plaintiffs attorney within forty-five (45) days from the date of this final judgment,

unless the final judgment is satisfied or a motion for new           trial or notice of appeal is filed.

Defendants should NOT       file the completed forms with the court.

        8.        Jurisdiction of this case is retained to enter further orders that are proper to

compel the Defendants to complete the Fact Information Sheets and retum them to Plaintiffs

attorney,    to   otherwise compel compliance with post-judgment discovery obligations, to

adjudicate the remaining counts of the Complaint, to determine the amount of attomeys' fees and

costs to be awarded    Plaintifl   and to enter such other and further orders as are appropriate.
                                                                                     ta?
        DONE and ORDERED in Chambers in Orange County, Florida                this   I     day of August

2019.



                                                          Chad K.      aro
                                                          Circuit Judge

Copies to:
Casey Reeder Lennox, Esq., Lennox Law, P.A.,5100W. Kennedy Blvd., Ste. 120, Tampa, FL 33609
John E. Johnson, Esq., Johnson, Cassidy, Newlon & DeCort, P.A.,324 Hyde Park Ave., Ste' 325, Tampa,
        FL   33606
Nicolette C. Vilmos, Esq., Nelson Mullins Broad and Cassel, 390 N. Orange Ave, Ste. 1400, Orlando, FL
        32801
American Express centurion Bank corporation, 4315 South 2700 west, Salt Lake city, Utah 84184
American Express centurion Bank corporation, Attn: Michelle Fowler, I 108 E. South Union Avenue,
       Midvale, UT 84047
windsong community Association, Inc., c/o Leland Management, Registered Agent,6972 Lake Gloria
       Blvd., Orlando, FL 32809-3200




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           Exhibit “E”
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